Case: 2:19-cv-00849-ALM-EPD Doc #: 464 Filed: 02/28/23 Page: 1 of 3 PAGEID #: 5389



                        IN THE
                        IN THE UNITED
                               UNITED STATES DISTRICT COURT
                                      STATES DISTRICT COURT
                         FOR
                         FOR THE
                             THE SOUTHERN  DISTRICT OF
                                 SOUTHERN DISTRICT  OF OHIO
                                                       OHIO
                                  EASTERN
                                  EASTERN DIVISION
                                          DIVISION

M.A., an
M.A., an individual,
         individual,                           )
                                               )
       Plaintiff,
       Plaintiff,                              )
                                               )
v.
v.                                             )          CIVIL ACTION
                                                          CIVIL        NO.: 2:19-CV-00849
                                                                ACTION NO.: 2:19-CV-00849
                                               )
WYNDHAM HOTELS
WYNDHAM    HOTELS &    &                       )
RESORTS, INC.,
RESORTS,       et al.,
         INC., et al.,                         )
                                               )
       Defendants.
       Defendants.                             )

     JOINT
     JOINT MOTION
           MOTION TO
                  TO SEVER AND DISMISS
                     SEVER AND          DEFENDANTS CHOICE
                                DISMISS DEFENDANTS         HOTELS
                                                   CHOICE HOTELS
           INTERNATIONAL,
           INTERNATIONAL, INC. AND BUCKEYE
                          INC. AND BUCKEYE HOSPITALITY,
                                            HOSPITALITY, LLC
                                                         LLC

       Pursuant to
       Pursuant to Fed.
                   Fed. R.
                        R. Civ. P. 21,
                           Civ. P. 21, Plaintiff
                                       Plaintiff M.A.
                                                 M.A. ("Plaintiff')
                                                      (“Plaintiff”) and Defendants Choice
                                                                    and Defendants        Hotels
                                                                                   Choice Hotels

International, Inc. and
International, Inc. and Buckeye
                        Buckeye Hospitality,
                                Hospitality, LLC
                                             LLC ("Defendants")
                                                 (“Defendants”) (collectively,
                                                                (collectively, Plaintiff
                                                                               Plaintiff and
                                                                                         and

Defendants are
Defendants     the "Parties")
           are the “Parties”) move the Honorable
                              move the Honorable Court to sever
                                                 Court to       Plaintiff’s claims
                                                          sever Plaintiff's claims solely
                                                                                   solely against
                                                                                          against

Choice Hotels International,
Choice Hotels International, Inc.
                             Inc. and Buckeye Hospitality,
                                  and Buckeye Hospitality, LLC
                                                           LLC and
                                                               and dismiss
                                                                   dismiss such
                                                                           such claims with
                                                                                claims with

prejudice
prejudice subject to the
          subject to the enforcement
                         enforcement of the Parties'
                                     of the Parties’ settlement agreement. Plaintiff
                                                     settlement agreement. Plaintiff has
                                                                                     has resolved
                                                                                         resolved her
                                                                                                  her

claims
claims against the Defendants.
       against the Defendants. Plaintiff
                               Plaintiff and Defendants stipulate
                                         and Defendants stipulate and
                                                                  and agree that each
                                                                      agree that each party will bear
                                                                                      party will bear

their own
their own costs.
          costs.

       Accordingly, the Parties
       Accordingly, the Parties hereby
                                hereby request that the
                                       request that the Court
                                                        Court sever
                                                              sever and
                                                                    and dismiss the Defendants
                                                                        dismiss the Defendants from
                                                                                               from

this matter,
this         with prejudice,
     matter, with prejudice, pursuant to Federal
                             pursuant to Federal Rules
                                                 Rules of
                                                       of Civil Procedure 21.
                                                          Civil Procedure 21. This
                                                                              This dismissal
                                                                                   dismissal shall
                                                                                             shall not
                                                                                                   not

affect the claims
affect the claims asserted by Plaintiff
                  asserted by Plaintiff against
                                        against any
                                                any other Defendant in
                                                    other Defendant    this case.
                                                                    in this case.
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Dated: February
Dated: February 28,
                28, 2023
                    2023


                                                 Respectfully Submitted,
                                                 Respectfully Submitted,


 /s/ Steven
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                            (by email consent)            /s/ Jennifer
                                                          /s/ Jennifer Snyder
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                                                          Hospitality, Inc.




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                                   CERTIFICATE OF SERVICE
                                   CERTIFICATE OF SERVICE

         A
         A copy
            copy of  the foregoing
                  of the foregoing was
                                    was filed
                                        filed electronically February 28,
                                              electronically February  28, 2023.
                                                                           2023. Notice
                                                                                 Notice of this filing
                                                                                        of this filing
will be
will be sent  to all
         sent to all parties by operation
                     parties by operation of the Court’s
                                          of the         Electronic filing
                                                 Court's Electronic filing system. Parties may
                                                                           system. Parties       access
                                                                                           may access
this filing
this filing through
            through the
                      the Court’s
                          Court's system.
                                  system.



                                               /s/ Jennifer
                                               /s/ Jennifer Snyder
                                                            Snyder Heis
                                                                   Heis
                                               Jennifer
                                               Jennifer Snyder  Heis (#0076181)
                                                         Snyder Heis (#0076181)




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